Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 1 of 30 PageID: 8826




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


    AL UMMAH COMMUNITY CENTER,
    AKA, AUCC FAMILY, EDUCATION AND
    FAITH CENTER, et al.,

                              Plaintiffs,   Civil Action No.:
                                            2:20-CV-14181(KM)(ESK)
                       v.

    TEANECK, et al.,

                              Defendants.



     PLAINTIFFS’ OPPOSITION TO DEFENDANT TOWNSHIP OF TEANECK, DAN
     MELFI AND ADAM MYSZKA’S MOTION TO DISMISS PLAINTIFFS’ SECOND
        AMENDED COMPLAINT PURSUANT TO RULES 12(b)(1) AND 12(b)(6)




                                                 Aymen A. Aboushi, Esq.
                                                 Joel S. Silberman, Esq.
                                                 The Aboushi Law Firm, PLLC
                                                 1441 Broadway, Fifth Floor
                                                 New York, NY 10018
                                                 Tel: (212) 391-8500
                                                 Fax: (212) 391-8508




                                                                              1
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 2 of 30 PageID: 8827




                                                              Table of Contents

  Introduction ................................................................................................................................... 1

  Preliminary Statement.................................................................................................................. 1

  Statement of Facts ......................................................................................................................... 2

  Standard of Review ....................................................................................................................... 7

  Analysis .......................................................................................................................................... 8

  I. The Defendants improperly attach extraneous materials not relied upon or referenced in the

  Amended Complaint, and the Court must disregard same. ............................................................ 8

  II. Defendants ignore the pleadings and the Court’s Opinion so as to manufacture a frivolous

  argument regarding standing........................................................................................................... 8

  III. The SAC is clear that, notwithstanding the Ordinance, Plaintiff’s will continue to suffer

  harm and a renewed application would be futile. ......................................................................... 11

  IV. The Court may not dismiss Count XIV of the SAC ............................................................... 11

  V. The Court may not dismiss Counts XI and XII of the SAC on Defendants’ previously rejected

  exhaustion grounds. ...................................................................................................................... 15

            A. The Passage of the Ordinance Does Not Render Plaintiffs’ Claims For injunctive relief

  Moot……………………………………………………………………………………………...E

  rror! Bookmark not defined.

            B. The Enactment of the Ordinance Supports Plaintiffs’ Aiding and Abetting Claims ... 18

  VI. Defendants Teaneck, Melfi and Myszka’s Request to Strike Must be Denied. ..................... 19


                                                                                                                                                     ii
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 3 of 30 PageID: 8828




  VII. A Title 59 Tort Claim Notice is not required for NJLAD claims of aiding and

  abetting………………………………………………………………………………………….20

  VIII. Plaintiff’s Second Amended Complaint alleges specific acts against zoning officers Dan

  Melfi and Adam Myszka, who directly interfered with Plaintiffs’ substantive Due Process

  Rights. ........................................................................................................................................... 20

  IX. Defendants Teaneck, Melfi and Myszka concede that Counts IV, V, VI, VII, VIII, IX, and X

  of Plaintiffs' Second Amended Complaint are properly asserted and may proceed. .................... 22

  X. Any dismissals should be without prejudice. ........................................................................... 24

  Conclusion ................................................................................................................................... 25




                                                                                                                                                     iii
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 4 of 30 PageID: 8829




                                                            Table of Authorities
                                                                        Cases

  Burlington Coat Factory Sec. Litig., 114 F3d 1410, (3d Cir 1997) ................................................ 8

  Connelly v Lane Const. Corp., 809 F3d 780, (3d Cir 2016)........................................................... 8

  Fowler v UPMC Shadyside, 578 F3d 203,(3d Cir. 2009) .............................................................. 7

  Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, (2000) ............... 17

  Garden State Islamic Ctr. v. City of Vineland, 358 F. Supp. 3d 377, (D.N.J. 2018).................... 16

  Hedges v. United States, 404 F.3d 744, (3d Cir. 2005) .................................................................. 7

  Hornstine v Twp. of Moorestown, 263 F Supp 2d 887, (D.N.J. 2003). ....................................... 20

  In re Burlington Coat Factory Sec. Litig., 114 F3d 1410, 1426 (3d Cir 1997) .............................. 8

  In re Milestone Sci. Sec. Litig., 103 F Supp 2d 425 (D.N.J. 2000) ................................................ 8

  Israelite Church of God in Jesus Christ, Inc. v City of Hackensack, Civ. No. 11-5960 SRC,

     (DNJ Aug. 10, 2012) ................................................................................................................... 7

  Israelite Church of God in Jesus Christ, Inc. v City of Hackensack, Civ. No. 11-5960 SRC, 2012

     WL 3284054, at *4 (DNJ Aug. 10, 2012) ................................................................................... 7

  Milestone Sci. Sec. Litig., 103 F Supp 2d 425 (D.N.J. 2000) ........................................................ 8

  Phillips v. Pennsylvania Higher Education Assistance Agency, 657 F.2d 554, (3d Cir. 1981), .. 16

  Sheridan v NGK Metals Corp., 609 F3d 239, (3d Cir 2010) .......................................................... 8

  United States v. Concentrated Phosphate Export Assn., Inc., 393 U.S. 199, (1968).................... 17

                                                                      Statutes

  501(c)(3) ......................................................................................................................................... 2

  F. R. C. P. 12(b)(1) and 12(b)(6) .................................................................................................... 1


                                                                                                                                                    iv
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 5 of 30 PageID: 8830




  Fed. R. Civ. P. 12(f), ..................................................................................................................... 19

  Municipal Zoning Ordinance Section 33-23(d)(3)(a) ..................................................................... 4

  NJSA § 10:5–12(e) ....................................................................................................................... 20

  Rule 12(b)(6) or 12(b)(1) ................................................................................................................ 7

  Toll Bros., 555 F.3d at 137 ........................................................................................................... 16

                                                                Regulations

  Teaneck Code 33-24.23 ................................................................................................................ 22




                                                                                                                                               v
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 6 of 30 PageID: 8831




                                             Introduction

         Plaintiffs AL UMMAH COMMUNITY CENTER, aka AUCC FAMILY, EDUCATION

  AND FAITH CENTER, a New Jersey Non-Profit Corporation (“AUCC”) and RAY OF

  SUNSHINE FOUNDATION INC., a New Jersey Non-Profit Corporation (“RSFI”), hereinafter

  collectively “Plaintiffs,” submit this Brief in opposition to Defendants Township of Teaneck

  (“Teaneck” or “Township”), Dan Melfi (“Zoning Officer” or “Melfi”), and Adam Myszka’s

  (“Assistant Zoning Officer” or “Myszka”) Motion to Dismiss Plaintiffs’ Second Amended

  Complaint pursuant to F. R. C. P. 12(b)(1) and 12(b)(6) dated December 8, 2022.

                                       Preliminary Statement


         Plaintiffs and its founders have had an extensive history of providing care, education, and

  support for their communities, even prior to the creation of their non-profit organizations in

  2018. Since the official approval of the two organizations in 2018, Plaintiffs have sought to

  establish the Al Ummah Islamic Community Center in the Township of Teaneck. Defendants

  Township, Melfi and Myszka have used the zoning process to unlawfully deny Plaintiffs the

  right to operate their Islamic community center for years, including forcing Plaintiffs to partake

  in their Zoning Board of Adjustments (“ZBA”) process despite being under no obligation to do

  so, unlawfully delaying applications, imposing onerous standards, and demanding tens of

  thousands of dollars in fees. Plaintiffs’ Second Amended Complaint (“SAC”) and the record are

  replete with countless instances of blatant racism. A plain reading of the SAC peals back the

  veneer of legitimacy that the Defendants in this matter seek to project to cover their

  discriminatory and other unlawful conduct. Defendants make numerous frivolous and specious

  arguments that are based upon misrepresentations and a skewed record. Furthermore,

  Defendants, in yet another attempt to evade responsibility for their conduct, have passed an


                                                                                                       1
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 7 of 30 PageID: 8832




  ordinance that they claim renders Plaintiffs' claims moot, but instead impose additional

  retaliatory restrictions on Plaintiffs that, by design, does not affect any other religious or secular

  entities. Plaintiffs are entitled under the law to vigorously prosecute their well pled claims before

  this Court. The record requires that the Defendants’ motion be denied.

                                           Statement of Facts

         Plaintiffs are a non-profit, 501(c)(3) tax exempt Religious Corporations with their

  principal place of business in Teaneck, NJ. See Second Am. Compl. (“SAC”) ¶¶5, 6, 24, 25, 28,

  68, 88, 109, 123, 125, 213, 214, 217. Plaintiffs are Islamic based organizations, whose mission

  includes operating an Islamic Center for its members to have religious services, congregations,

  prayers, as well as other amenities. Id. Defendants knew that the Plaintiffs were Muslim, and that

  the Muslim community would use the facility for their house of worship because Muslims were

  in support of the application, Muslims were running the organization, and Muslims in Muslim

  dress showed up to every application process. Ex. C at 50:18-51:5, 53:2-6, 55:5-6, 56:9-21.

  Plaintiffs bought the property located at 50 Oakdene Avenue, Teaneck, NJ 07666 (hereinafter the

  “Site”), which is a two-story building that was formerly a public school. SAC at ¶¶18-19. The

  Site consists of over 2.25 acres of land, with a stand-alone parking lot, and sits on a corner with

  three street exposures and one property line adjacent to the end of the site. SAC at ¶¶15-19. Once

  the public school was decommissioned, it was sold to the True Light Presbyterian Church, Inc.

  (hereinafter “the Church”), which used the Site for religious purposes, including congregation,

  instruction, and gatherings, such as community events and religious celebrations. SAC at ¶¶19-

  22. After years of occupancy, the Church sold the Site to Plaintiffs. SAC at ¶23.

         Thereafter, Plaintiffs sought various approvals to the Site to turn it into an Islamic

  Community Center that included a daycare, and met with Teaneck Officials, including Defendant



                                                                                                           2
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 8 of 30 PageID: 8833




  Dan Melfi, a senior zoning officer employed by Defendant Teaneck, who holds considerable

  sway and input regarding permits, approvals and variances. SAC at ¶¶11, 27-31. Plaintiffs were

  questioned significantly regarding the proposed Islamic Center, and specifically, regarding its

  religious use. SAC at ¶28. Plaintiffs were urged to use an acronym for the Center, rather than

  referring to its full name, because the full Arabic name might cause problems for the project,

  despite the translation simply meaning community. SAC at ¶¶31-35.

         Plaintiffs continually met with town officials throughout and beyond 2018, each time

  changing their plans at the behest of Teaneck officials in order to ensure swift and seamless

  approvals. SAC at ¶¶32, 35. Defendant Melfi made numerous representations to Plaintiffs,

  including that limiting the prayer space and downplaying other religious activities at the Site,

  would ensure that the Plaintiffs would receive swift approvals. SAC at ¶¶32-35, 40. Specifically,

  Defendant Melfi urged Plaintiffs to use an acronym for the Center, rather than the full name,

  because the full name in Arabic might cause problems to the project with the Town, its residents,

  and its officials. SAC at ¶35. Furthermore, Plaintiffs were made aware that Teaneck’s swimming

  clubs and local high school did not have a place to practice, and that adding a pool and pool

  house would greatly aid the community, so Plaintiffs added a pool at the behest of Defendants at

  considerable cost and expense. SAC at ¶¶36-39. In addition, the proposed plan contained 63

  parking spaces, which Defendant Melfi assured Plaintiffs that it would be sufficient. SAC at

  ¶165. Another proposed request by Plaintiffs was for an American with Disabilities Act

  (“ADA”) compliant ramp, an ADA-compliant elevator, and a roundabout driveway for the safety

  of children being picked up/dropped off. SAC at ¶¶43, 53, 58-63, 136, 158, 183-184, 189. The

  proposed roundabout driveway would be located 145 feet away from a roadway where 150 feet

  if required. SAC at ¶135. Additionally, the Site was in the Public Zoning area, which by statute,



                                                                                                      3
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 9 of 30 PageID: 8834




  permits recreational facilities and its associated uses, and no variance or appeal to the Zoning

  Board of Adjustments (hereinafter the “ZBA”) is required for an outright grant of the permits.

  SAC at ¶¶ 46-48, 80, 138, 139, 209, 252. Plaintiffs presented the revised plans to Defendants

  before formal submission was made at the permit office, and Defendants, including Melfi,

  assured Plaintiffs that the plans would be approved without any issues. SAC at ¶¶ 32, 34, 40.

         Plaintiffs submitted their pre-approved plans for the proposed Islamic Center, which then

  became subject to public backlash, which were then swiftly rejected by Defendants Melfi and

  Teaneck, alleging a number of “deficiencies” to cover for the unlawful denial of permits issued

  by Defendant Teaneck through its highest zoning policy maker Dan Melfi, along with Assisting

  Zoning Officer Adam Myszka. SAC at ¶¶ 42, 49, 50, 84, 294. The first of Defendant Teaneck’s

  unlawful denials of work permit was issued on August 29, 2019, citing the alleged lack of a

  proposed site plan and zoning chart with calculations as the basis for the denial of a permit for

  the ADA Ramp, citing Municipal Zoning Ordinance Section 33-23(d)(3)(a). SAC at ¶¶ 52-53.

  However, a review of that provision reveals that it is only applicable where there is, “[a]

  commencement of a use, or change of use, or the erection, construction, reconstruction,

  alteration, conversion or installation of a structure or building,” which is clearly inapplicable to

  an application for an ADA compliant ramp. SAC at ¶54. Despite the foregoing, Plaintiffs

  amended their application and resubmitted its request for the work permit. SAC at ¶ 55.

  Defendant Teaneck’s denied Plaintiffs’ requests again on September 10, 2019, stating that

  zoning board approval was required, and that permits may not be issued on properties with

  outstanding violations. SAC at ¶ 56. However, by the Defendants’ very zoning statutes, the Site

  was located in Public Lands Zone (“P Zone”), which did not require Zoning Board approval.

  SAC at ¶¶ 46-48, 80, 138, 139, 209, 252. Accordingly, because the Site was in the Public Zoning



                                                                                                         4
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 10 of 30 PageID: 8835




  area, by statute, no variance or appeal would be required for the issuance of the permits. Id.

  Notwithstanding the foregoing, the alleged violations barring the issuance of the permits were

  nonexistent, and the only violations associated with the site were issued after Defendant

  Teaneck’s denials. SAC at ¶¶ 73-75.

         Upon information and belief, Defendant Myszka collaborated with Defendants Teaneck

  and Melfi to cover their tracks by issuing frivolous violations and manufactured a reason to deny

  Plaintiffs' permit applications. SAC at ¶¶ 75-77. Defendant Myszka issued summonses to the

  Plaintiffs for infractions after Plaintiffs applied for permits, so that there was a manufactured and

  false basis to refuse Plaintiffs’ permits, which was evident by Defendant Teaneck and Melfi's

  refusal to approve Plaintiffs' application, in order to modify an existing fence that Defendant

  Myszka issued a violation for. Id. at ¶¶ 77-78. Plaintiffs were also ticketed for moving the

  playground a couple feet away from its original location despite the fact that there is no rule or

  regulation regarding the same.

         Defendants Teaneck and Melfi’s unlawful conduct did not end there, as they issued

  additional denials of work permits, including but not limited to, refusals dated October 2, 2019

  and November 25, 2019, wherein the basis of their denials remains unclear, as they cited a

  number of Municipal Zoning Ordinance sections that did not apply to Plaintiffs because 1) the

  Site was located on a P Zone that does not require Zoning Board approval, and 2) the variances

  were already approved for a prior owner/occupant/use. SAC at ¶¶79-84. Amongst the alleged

  reasons for denial of a work permit were dimensional, density, and other bulk restrictions for a

  house of worship and/or for a day care. Which did not apply to Plaintiffs because of their P

  Zoning Class, and because the variances had been granted to its predecessors, which include a

  Church that was also used as a daycare. Id. See also SAC at ¶¶82. 132. In its denial of the ADA-



                                                                                                       5
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 11 of 30 PageID: 8836




  compliant ramp, Defendants claimed that the lot coverage number in the architect's plans were

  57.1% but that the engineering plans listed the lot coverage at 57.2%, and that the .1%

  discrepancy was a basis to deny the permit for a property consisting of nearly two and a half

  acres. SAC at ¶¶184-185.

          Defendants were adamant in their denials for Plaintiffs’ requests for work permits and

  forced Plaintiffs to go before the Defendant ZBA. SAC at ¶¶84-85, 87, 101. The ZBA process

  was a sham aimed at delaying and denying the applications and bleeding Plaintiffs, a non-profit,

  of precious funds. SAC at ¶89. Despite being under no obligation to do so, an in an effort of

  appeasement, Plaintiffs applied to the ZBA as instructed. Id. The ZBA process was exposed as a

  farce, and the ZBA’s alleged concerns were evidently discriminatory in nature, clearly aimed at

  discouraging prayer services and religious exercises. SAC at ¶¶87-264, generally.

          On or about January 18, 2022, Defendant Township amended its zoning laws to impose

  additional rules, regulations and requirements upon Plaintiffs that did not previously exist. SAC

  at ¶ 265. Plaintiffs were originally in the public "P" zone when initially applying, but they now

  fall under a new "community overlay" zone that was newly created following the filing and

  partial litigation of Plaintiffs' claims. SAC at ¶ 266. The amendment to the zoning law is

  unlawful, unjust, reflects the unequal treatment of Plaintiffs, and it is clearly retaliatory in nature,

  as Defendants are seeking to impose new barriers for Plaintiffs to adhere to in hopes of gaining

  tens of thousands of more dollars in fees and expenses allegedly for administrative purposes.

  SAC at ¶¶267-269. The Ordinance now renders the Property per se illegal because the existing

  structure of the property does not comply with the new dimension, bulk and other requirements

  imposed by the Ordinance and thereby imposes a defacto requirement that the Plaintiffs re-apply

  to the ZBA. SAC at ¶¶ 270-272. The Ordinance does not obviate the need to go before the ZBA,



                                                                                                         6
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 12 of 30 PageID: 8837




  but rather, mandates that Plaintiffs to do so because the Township would be required to deny any

  application by Plaintiffs for being noncompliant with the zoning requirements and seek variance

  from the ZBA. SAC at ¶¶ 273-276. While the Defendants have generously cast the Ordinance to

  bypass the unlawful actions taken by the BOA and its members so that Plaintiffs do not need to

  further suffer through further discrimination and unlawful actions, the practical effect of the

  Ordinance is to mandate that Plaintiffs go right back to the ZBA for variances on the newly

  imposed restrictions. SAC at ¶¶ 277. For example, the Ordinance imposes new requirements as

  follows: maximum lot coverage of 60%, minimum parking spaces, and maximum building

  coverage. SAC at ¶278. The proposed Islamic Center’s lot coverage is 84%. Id. As it exists now,

  the Islamic Center does not comply with the imposed lot coverage and its mere existence now

  requires it to go to the Defendant BOA because of the Ordinance. Id.

                                          Standard of Review

          “In deciding a Rule 12(b)(6) or 12(b)(1) motion to dismiss, courts accept all factual

  allegations as true, construe the complaint in the light most favorable to the plaintiff, and

  determine whether, under any reasonable reading of the complaint, the plaintiff may be entitled

  to relief.” Fowler v UPMC Shadyside, 578 F3d 203, 210 (3d Cir. 2009)(citations and quotations

  omitted). On a motion to dismiss, “[t]he defendant bears the burden of showing that no claim has

  been presented.” Israelite Church of God in Jesus Christ, Inc. v City of Hackensack, Civ. No. 11-

  5960 SRC, 2012 WL 3284054, at *4 (DNJ Aug. 10, 2012)(citing Hedges v. United States, 404

  F.3d 744, 750 (3d Cir. 2005). To survive a motion to dismiss, a complaint must contain sufficient

  factual matter, accepted as true, state a claim to relief that is plausible on its face. Connelly v

  Lane Const. Corp., 809 F3d 780, 786 (3d Cir 2016). A claim has facial plausibility when the

  plaintiff pleads factual content that allows the court to draw the reasonable inference that the



                                                                                                        7
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 13 of 30 PageID: 8838




  defendant is liable for the misconduct alleged. Sheridan v NGK Metals Corp., 609 F3d 239, 262

  (3d Cir 2010).


                                                       Analysis1

      I.       The Defendants improperly attach extraneous materials not relied upon or
               referenced in the Amended Complaint, and the Court must disregard same.


            A court may not consider anything beyond the four corners of the complaint on

  a motion to dismiss. A District Court considering a motion to dismiss for failure to state a claim

  generally may not consider any material beyond the pleadings. In re Milestone Sci. Sec. Litig.,

  103 F Supp 2d 425 (D.N.J. 2000). The Third Circuit has held, however, that courts may consider

  any “document integral to or explicitly relied upon in the complaint.” In re Burlington Coat

  Factory Sec. Litig., 114 F3d 1410, 1426 (3d Cir 1997). As such, Defendants’ extraneous

  materials must not be considered by the court.


      II.      Defendants ignore the pleadings and the Court’s Opinion so as to manufacture a
               frivolous argument regarding standing.


            The Court succinctly decided this issue. The Court held that AUCC has properly pled that

  the application process before the Defendants was futile. The Court was clear that Plaintiffs may

  pursue their compensatory and punitive damages re same. The Court left the question open as to

  whether the application process post-amendment of the ordinance would similarly be futile. The

  SAC makes it clear that any subsequent application will be futile.

            Plaintiffs were originally in the public "P" zone when initially applying, but they now fall

  under a new "community overlay" zone that was newly created following the filing and partial



  1
   Plaintiffs incorporate by way of reference all of the arguments made in Plaintiffs’ concurrent briefs in opposition to
  Defendant ZBA, Defendants ZBA Members, Defendant Rehman and Defendant Meyer’s motions to dismiss.

                                                                                                                       8
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 14 of 30 PageID: 8839




  litigation of Plaintiffs' claims. SAC at ¶ 266. The Ordinance now renders the Property per se

  illegal because the existing structure of the property does not comply with the new dimension,

  bulk and other requirements imposed by the Ordinance and thereby imposes a defacto

  requirement that the Plaintiffs re-apply to the ZBA. SAC at ¶¶ 270-272. The Ordinance does not

  obviate the need to go before the ZBA, but rather, mandates that Plaintiffs do so because the

  Township would be required to deny any application by Plaintiffs for being noncompliant with

  the zoning requirements and seek variance from the ZBA. SAC at ¶¶ 273-276. The proposed

  Islamic Center’s lot coverage is 84%. SAC at ¶278. As it exists now, the Islamic Center does not

  comply with the imposed lot coverage and its mere existence now requires it to go to the

  Defendant ZBA because of the Ordinance. Id. By and through these allegations, Plaintiffs have

  aptly stated that the ordinance does not and could not result in circumvention of the ZBA process

  and would in fact require that Plaintiffs re-enter the sham that is the ZBA process, from the very

  beginning, which would subject Plaintiffs to continue to fund the application with no end in

  sight. Reapplying to the ZBA, which is substantially comprised of the same individuals who

  engaged in the unlawful conduct, would be futile.

          Defendants Teaneck, Melfi and Myszka now attempt to misconstrue the District Court’s

  decision in an attempt to fit the Court’s decision into the same regurgitated arguments.

  Defendants seek to reargue the previously rejected argument that the Plaintiffs “withdrew” their

  application. In doing so, the Defendants ignore the well pled SAC that establishes that, not only

  did the Defendant formally deny Plaintiff’ application, but that any further application would be

  met by the same manufactured roadblocks, unabashed discrimination, and futility visited upon

  Plaintiffs during the first time the Plaintiffs applied and were denied.




                                                                                                      9
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 15 of 30 PageID: 8840




         The Court was clear that Plaintiffs have asserted justiciable claims for the discrimination

  they allegedly suffered during the application process. Op. at p. 16. As the Court clearly held the

  claims regarding the initial application process, before the Ordinance was amended, clearly states

  the claim or ripeness as again asserted by the Defendants unavailing. The SAC makes clear that

  the Plaintiff did dutifully apply, spent years facing discrimination and unequal treatment, and

  then were denied. There was never a “withdrawal” of Plaintiffs’ claims. In fact, Plaintiffs were

  forced to appear before the ZBA by Defendants Teaneck, Melfi and Myszka. SAC at ¶¶84-85,

  87, 101. The ZBA process was a sham aimed at delaying and denying the applications and

  bleeding Plaintiffs, a non-profit, of precious funds. SAC at ¶89. Defendants ZBA and ZBA

  members gave Plaintiffs the run-around and encouraged members of the public to continue

  asking questions without limit or care for how long the questioning went on for, or whether or

  not the questions were duplicative and therefore a waste of time. SAC at ¶ 93. ZBA members

  made racist and xenophobic comments, including ZBA member Mulligan's comment that camels

  could be used for pickup and drop-off and would need to be considered for the application. SAC

  at p. 2, ¶ 150. ZBA Member Mulligan, when reminded that the site already had a daycare

  variance, stated in sum and substance that "that was a scam. Would you trust your kids with

  THESE PEOPLE?" SAC at p. 2, ¶¶ 152, 395. The ZBA treated Plaintiffs differently from other

  applicants. SAC at ¶¶ 97, 98, 115, 116, 141, 188, 232, 309, 357-375. Notably, when the COVID-

  19 pandemic started, there was a brief break between the in-person hearings and the

  commencement of virtual hearings, but Plaintiffs were not afforded an opportunity to be heard

  virtually. SAC at ¶ 200. After all of this, after the process was dragged out for years on end,

  Defendants ZBA and ZBA members worked as a unit to deny Plaintiffs’ application. It is clear




                                                                                                     10
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 16 of 30 PageID: 8841




  that, based upon the facts alleged in the SAC, Defendants’ regurgitated arguments regarding an

  alleged withdrawal must be rejected a second time.


     III.      The SAC is clear that, notwithstanding the Ordinance, Plaintiff’s will continue
               to suffer harm and a renewed application would be futile.


            The Ordinance does not take back control of the approval process from the ZBA

  Defendants. Instead, unlike prior to the amending of the Ordinance, the Ordinance now mandates

  that the Plaintiffs seek approvals where none were previously required. The New Ordinance

  imposes bulk and other restrictions upon AUCC that makes it per say out of compliance with the

  newly enacted standards, and thus requires that AUCC return to the ZBA for approvals. The

  SAC makes clear why such a process would be futile. The ZBA did not have a reason to impose

  any requirements upon AUCC the first time it denied Plaintiff’s application. Yet it took it upon

  itself to impose numerous requirements, give Plaintiff’s the run around, and infect the process

  with unequal and discriminatory treatment. Of course, the SAC make clear the many ways that

  the Plaintiffs were treated unlawfully before the ZBA and is now the reason why the Plaintiffs

  cannot be forced to go back to the ZBA Defendants for approvals and waivers. To be clear the

  Ordinance does not obviate the need for ZBA approval, but rather now imposes requirements

  that make AUCC non-conforming as it exists and now required ZBA approval. AUCC cannot

  yet again spend tens of thousands of dollars and go through years of endless discrimination

  before the ZBA without any end in sight.


     IV.       The Court may not dismiss Count XIV of the SAC

     The Defendants erroneously argue that, because the Court held that injunctive relief is

  unavailable without a renewed application under the amended Ordinance, that the Plaintiffs may

  not allege at this time that Ordinance was retaliatory or aiding and abetting discrimination.

                                                                                                     11
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 17 of 30 PageID: 8842




  Defendants’ wishful reading of the Ordinance and the Court’s Opinion fails on its face. First, the

  ordinance had the effect of imposing requirements upon Plaintiffs that did not previously exist.

  This had the effect of mandating that the Plaintiffs go back before the ZBA Defendants when

  they were not previously required to. This now mandates that the Plaintiffs go back before the

  same discriminatory ZBA. Clearly amending the Ordinance was retaliatory and designed to aid

  and abet the unlawful conduct against Plaintiffs and keep them in the ZBA process.

     Second, that the Ordinance was amended in the context of ongoing litigation and has the

  effect of (1) Making AUCC per se non-conforming, and (2) formally relegating AUCC to the

  ZBA process where it will face the very Defendants in this action who perpetrated unlawful

  discrimination upon Plaintiffs. The enactment of the targeted Ordinance reeks of retaliation and

  aiding and abetting discrimination. Indeed, the Defendants could have amended the Ordinance to

  make Plaintiffs per se legal and conforming. Defendants had in their possession all of the bulk

  and other dimensions of the Plaintiffs such that they could have approved Plaintiffs’ plans.

  Instead, Defendants went the other way, making Plaintiff’s assistance illegal as a matter of law

  and relegating them to the discriminatory ZBA process. If Defendants wanted to make it “easier”

  for Plaintiffs to gain approvals, they would right the wrongs of the Defendants and approve the

  plans of AUCC on their face. Instead, Defendants claim to be doing Plaintiffs a favor by

  mandating the ZBA process and hoping the very Defendants who discriminated against Plaintiffs

  will have an epiphany that would result in ceasing their unlawful conduct. The concept that the

  Defendant Teaneck had to relegate the ZBA “to the back seat” in this matter through an

  Ordinance that places the ZBA in the driver’s seat is an untenable sleight of hand that fools no

  one. In both situations, the ZBA unlawfully remains in the driver’s seat as it relates to Plaintiffs’

  application.



                                                                                                     12
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 18 of 30 PageID: 8843




     Plaintiffs have asserted that the Ordinance renders the Property per se illegal as it currently

  exists, even though it has remained unchanged since it was a school, simply because it does not

  comply with the new requirements imposed by the Ordinance. SAC at ¶ 270. While the Property

  was not in violation of any zoning rules, ordinance or regulation at the time the Plaintiffs

  acquired the Property, it is now non-compliant and in violation. Id. Even if the Plaintiffs were

  not seeking any change or variance whatsoever, Plaintiffs would still be required to seek a

  variance with the ZBA because the Property is no longer compliant as it stands. A review of the

  Ordinance reveals that there are now newly imposed dimension, bulk and other requirements for

  the Property that did not previously exist, thereby imposing a defacto requirement that Plaintiffs

  once again seek approval before the ZBA. SAC at ¶¶ 271-272. By and through these allegations,

  Plaintiffs have aptly stated that the ordinance does not and could not result in circumvention of

  the ZBA process and would in fact require that Plaintiffs re-enter the sham that is the ZBA

  process, from the very beginning, which would subject Plaintiffs to continue to fund the

  application with no end in sight – circling back, again, to the futility of seeking a final decision.

     Next, that the Plaintiffs may have to yet again go through a discriminatory ZBA process as a

  function of the newly amended Ordinance in order to gain standing for injunctive relief, does not

  mean that the newly amended Ordinance was not retaliatory or designed to aid and abet the

  unlawful conduct of the Defendants. The Ordinance, if discovery reveals it to be retaliatory and

  done to aid and abet the unlawful treatment of Plaintiffs, will too be unlawful. As such, that

  Plaintiffs may have to comply with the newly amended Ordinance in order to achieve a portion

  of the relief it seeks does not make the Ordinance in and of itself unassailable.

         Finally, the adoption of Ordinance No. 6993 does not render Plaintiffs' claims as moot, as

  Defendant Teaneck alleges. Rather, the adoption of the new Ordinance serves only to reinforce



                                                                                                       13
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 19 of 30 PageID: 8844




  Plaintiffs' claims of discrimination and is the basis of additional claims asserted by Plaintiffs as a

  result of the Township’s direct actions2, as it seeks to target Plaintiffs in a discriminatory and

  retaliatory manner by imposing additional restrictions on Plaintiffs. Defendant Teaneck

  continues its conduct of treating Plaintiffs unequally compared to other religious and secular

  entities. The language contained in the ordinance itself, which states, "the Township Council is

  desirous to correct and address certain provisions" that are "otherwise unnecessarily onerous or

  unnecessary with respect to community residences, family day care homes, and child-care

  centers, and/or are otherwise unnecessarily onerous..." shows that the passage of the ordinance

  was discriminatory and retaliatory in nature. In a situation where the Plaintiffs were under no

  obligation to be before the ZBA before the lawsuit, the Township made it law that the Plaintiffs,

  and solely Plaintiffs, have no choice and are now subject to previously inapplicable restrictions

  and must go before the ZBA to seek variations.

             The District Court Opinion noted, and Defendants concede, that despite the passage of

  the Ordinance “it is still possible that the Township could deny certain parts of the application,

  requiring AUCC to involve the ZBA.” Op. at p. 15; Teaneck Br. at pp. 16-17. It cannot be

  understated that the passage of the Ordinance now requires that any application to the Township

  be denied because Plaintiffs are now suddenly in violation of the newly imposed dimensional,

  density and bulk requirements when they were not in violation previously – it is not a mere

  possibility that Township would deny such an application. Plaintiffs would, once again, be

  subject to the futile, arbitrary, capricious and discriminatory process of seeking a variance with

  the ZBA. As such, Plaintiffs’ claims are ripe and justiciable by the Court and Defendants’

  motion to dismiss must be denied.



  2
      The acts of the Council constitute per se actions on behalf of the Teaneck as they are by law policy makers.

                                                                                                                     14
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 20 of 30 PageID: 8845




           The passage of the Ordinance has the exact opposite effect of the one contemplated in the

  November 15, 2022 Opinion and subjects Plaintiffs, once again to the futile, arbitrary, capricious

  and discriminatory process of seeking a variance with the ZBA and the damages they experience

  will now be compounded through more delays and more fees. While an application for a permit

  from the Township does not require an escrow, the ZBA will undoubtedly require an escrow

  when it, once again, has to hear Plaintiffs’ application because the Ordinance mandates that the

  Township deny Plaintiffs’ application and requires Plaintiffs to appear before the ZBA.

      V.      The Court may not dismiss Counts XI and XII of the SAC on Defendants’
              previously rejected exhaustion grounds.


           In refusing to accept this Court’s ruling, Defendants yet again erroneously argue that

  Plaintiffs have not met an exhaustion requirement and therefore cannot pursue claims under the

  Municipal Land Use Law. The SAC could not be clearer that the Plaintiffs submitted an

  application and that application was denied under clear instances of unequal treatment and

  discrimination. The SAC could also not be clearer that any future application would similarly be

  futile as the Plaintiffs would be relegated to the same ZBA who engaged in the discriminatory

  conduct complained of in the Complaint. While the Defendants seek to disregard the well pled

  SAC, they cannot disregard the Court’s decision in which the Court stated it would tend to agree

  with the Plaintiff that the allegations in the Complaint would make any further exhaustion an

  exercise in futility.

           Defendants’ claim that “AUCC never completed its Site Plan Application before the ZBA

  . . .” is demonstrably false. Teaneck Br. at p. 23 (emphasis in the original). Indeed, the Court’s

  opinion recognized that Plaintiffs’ plan was submitted, went through years of manufactured road

  blocks and discrimination, and was ultimately denied. Defendants then go on to claim that there

  are no recognized exceptions to the exhaustion requirement, despite the Court’s opinion tending

                                                                                                       15
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 21 of 30 PageID: 8846




  to agree with Plaintiffs’ well pled complaint that establishes futility in any further exhaustion of

  remedies. The District Court Opinion did not hold that Plaintiffs’ allegations were unripe due to

  failure to satisfy the finality requirement as Defendants propose, but agreed that, “the issuance of

  a final decision being held in abeyance is the very essence of the claims.” Id. at p. 13, citing

  Garden State Islamic Ctr. v. City of Vineland, 358 F. Supp. 3d 377, 382 (D.N.J. 2018). The

  District Court noted that this allegation was compelling, if not for the passage of the Ordinance

  because “the Township seems to have stepped in and taken back responsibility from the ZBA.”

  Plaintiffs’ SAC demonstrates that this is not true, and that the passage of the Ordinance puts

  Plaintiffs precisely in the same predicament that they were in previously, and that the damages

  they experience will now be compounded through more delays and more fees. Simply put, if

  going before the ZBA and being subjected to years of discriminatory conduct tended to make

  any exhaustion of remedies futile, surely going back to the same board for further consideration

  of newly imposed requirements would meet the same definition and fate.


     A. The Passage of the Ordinance Does Not Render Plaintiffs’ Claims For injunctive
        relief Moot.


     The mootness doctrine is another approach to the question of whether an action is justiciable.

  Toll Bros., 555 F.3d at 137. A case is moot if: "(1) it can be said with assurance that 'there is no

  reasonable expectation …' that the alleged violation will recur, … and (2) interim relief or events

  have completely and irrevocably eradicated the effects of the alleged violation." Phillips v.

  Pennsylvania Higher Education Assistance Agency, 657 F.2d 554, 569 (3d Cir. 1981), cert.

  denied by 455 U.S. 924 (1982). This test of mootness is completely disregarded by Defendants,

  who do not assert mootness under any doctrine of law nor any case law, and instead rely solely

  on the District Court Opinion dated November 15, 2022, whose arguments do not reflect or


                                                                                                      16
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 22 of 30 PageID: 8847




  consider the remedying allegations set forth in Plaintiffs’ SAC. Regardless, any assertion that

  Plaintiffs’ claims are moot must be rejected under the aforementioned test.

         As set forth above, Plaintiffs’ claims are not moot under the first prong of the test

  because the violations alleged by Plaintiff will undoubtedly recur simply by the nature and actual

  application of the new Ordinance. Even if the Plaintiffs were not seeking any change or variance

  whatsoever, Plaintiffs would still be required to seek a variance with the ZBA because the

  Property is no longer compliant as it stands. A review of the Ordinance reveals that there are now

  newly imposed dimension, bulk and other requirements for the Property that did not previously

  exist, thereby imposing a defacto requirement that Plaintiffs once again seek approval before the

  ZBA. SAC at ¶¶ 271-272. By and through these allegations, Plaintiffs have aptly stated that the

  Ordinance fails to alleviate Plaintiffs’ claims or render them moot, but in fact requires that

  Plaintiffs subject themselves to the very same circumstance under which the original alleged

  violation occurred.

         Similarly, Plaintiffs’ claims are not moot under the second prong of the test because the

  effects of the alleged violation remain applicable despite the passage of the Ordinance. The

  Ordinance requires that the Township deny any renewed application by the Plaintiffs and subject

  them once again to the ZBA. “The ‘heavy burden of persuading’ the court that the challenged

  conduct cannot reasonably be expected to start up again lies with the party asserting mootness.”

  Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) citing

  United States v. Concentrated Phosphate Export Assn., Inc., 393 U.S. 199, 203 (1968).

  Defendants’ arguments purposefully ignore the necessary result of the Ordinance – that Plaintiffs

  are now required to appear before the ZBA – in favor of relying on a facially-favorable event

  that is clearly targeted at Plaintiffs and discriminatory once actually applied. Defendants are


                                                                                                     17
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 23 of 30 PageID: 8848




  silent in the application of the Ordinance precisely because doing so would put Plaintiffs in the

  same position that they were in previously with no assurance that the same conduct will not

  recur. Plaintiffs would be subject to the same delays and exorbitant fees. Plaintiffs would still be

  unable to open their religious community center. Plaintiffs would still need a certificate of

  occupancy. Plaintiffs would still suffer a substantial burden in using the center to foster

  community, aid in its religious endeavors, and supporting the public through various recreational

  programs and facilities.


     B. The Enactment of the Ordinance Supports Plaintiffs’ Aiding and Abetting Claims

         Finally, while the Court further opined that it is plausible that the Ordinance was enacted

  to assist Plaintiffs, it is also equally plausible that the ordinance was enacted as a form of

  retaliation and to aid and abet the unlawful conduct. Indeed, the ordinance now mandates that the

  Plaintiffs go before the very ZBA where they were not previously required to go. Furthermore,

  the newly enacted Ordinance makes AUCC patently non-conforming. In the context of a motion

  to dismiss, the Court must accept the SAC as true and provide all favorable inferences, including

  that the Ordinance was enacted in a retaliatory manner specifically to aid and abet the

  Defendants’ defenses in this matter. Had the Defendants truly wished to assist Plaintiffs, they

  could have rezoned the property to approve it in totality, as opposed to imposing requirements

  that mandate Plaintiffs to go through a process that they previously engaged with. Any hint of

  altruism attributed to the Ordinance, in spite of the SAC, is removed by the stark reality that the

  Ordinance does not legalize AUCC, but rather makes it per se illegal and imposes new

  requirements that require AUCC to go back before the very board that this court “tended” to

  agree engaged in discrimination and rendered any exhaustion requirement before it by Plaintiffs

  futile. The SAC makes clear that neither the Court nor the parties need to speculate as to whether


                                                                                                      18
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 24 of 30 PageID: 8849




  submitting yet another application to the ZBA per the new Ordinance would yield a different

  result other than the discrimination visited upon the Plaintiff by the same Defendants.


     VI.      Defendants Teaneck, Melfi and Myszka’s Request to Strike Must be Denied.

           While Defendants Teaneck, Melfi and Myszka assert that portions of Plaintiffs’ Second

  Amended Complaint must be struck, they provide no basis for their assertion. Instead,

  Defendants appear to rely on a misleading quote from the Opinion which did not rule that any

  allegations must be stricken. Absent any legal basis whatsoever, Defendants’ request to strike

  based upon an Opinion written about a prior, pre-amendment complaint is unconscionably

  improper and should be denied outright.

           Furthermore, while Defendants appear to be invoking Fed. R. Civ. P. 12(f), they fail to

  engage in a Rule 12(f) analysis or even cite the rule. Rule 12(f) grants the court discretion to

  “strike from a pleading an insufficient [ ] or any redundant, immaterial, impertinent, or

  scandalous matter.” Fed. R. Civ. P. 12(f). Traditionally, FRCP Rule 12(f) is applied to

  affirmative defenses. Because of the "drastic nature of the remedy," however, motions to strike

  are "usually viewed with disfavor" and "will generally be denied unless the allegations have no

  possible relation to the controversy and may cause prejudice to one of the parties, or if the

  allegations confuse the issues." Id. at 609. Defendants have not established any prejudice that

  they would suffer if their improper request to strike, nor could they. Without setting forth any

  legal basis for their request, the Defendants are essentially requesting that the Court completely

  disregard the standard for motions to dismiss, namely that the factual allegations set forth in the

  complaint be taken as true and construed in favor of the non-moving party. Similarly, Defendants

  do not allege that the allegations have no possible relation to the controversy, or that the

  allegations would confuse the issues. Instead, Defendants simply state that they are entitled to the


                                                                                                     19
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 25 of 30 PageID: 8850




  drastic remedy of striking portions of the SAC. This relief is patently improper without basis in

  the law and must be denied.


     VII.       A Title 59 Tort Claim Notice is not required for NJLAD claims of aiding and
                abetting.


         Plaintiffs were not required to file a tort claim notice on its aiding and abetting claims.

  Plaintiffs' Aiding and Abetting claim is not made under tort law, but rather explicitly stated

  pursuant to the New Jersey Law Against Discriminating (“NJLAD”). NJLAD permits “aiding

  and abetting” claims, and makes it unlawful for any person to aid, abet, incite, compel or coerce

  the doing of any of the acts forbidden under this act. See NJSA § 10:5–12(e). Our Courts have

  long recognized that the Tort Claims Act is totally inapplicable to NJLAD. Hornstine v Twp. of

  Moorestown, 263 F Supp 2d 887, 898 (D.N.J. 2003). Given our Court’s long-held precedent,

  Defendants’ argument has no merit, and their motion must be denied.


     VIII. Plaintiff’s Second Amended Complaint alleges specific acts against zoning
           officers Dan Melfi and Adam Myszka, who directly interfered with Plaintiffs’
           substantive Due Process Rights.


         The acts alleged in the Second Amended Complaint attributed to Defendants Melfi and

  Myszka, who were acting in their official capacities, demonstrates that claims for violations of

  Plaintiffs’ rights are aptly pled. While Defendants Teaneck, Melfi and Myska harp on Plaintiffs’

  use of “Defendants” in the SAC, a closer review reveals that Melfi is explicitly referenced 194

  times, Myszka is explicitly referenced 31 times, and Teaneck is explicitly referenced 133 times.

  The factual allegations against each of these Defendants are more than sufficiently clear and

  aptly pled.




                                                                                                       20
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 26 of 30 PageID: 8851




          Plaintiffs relied upon Defendant Melfi's guidance because Defendant Melfi was the

  ultimate decisionmaker and he possessed final authority in the approval of zoning related

  applications for Teaneck as their senior zoning officer. SAC at ¶¶11, 27-31. Defendant Melfi

  instructed Plaintiffs to use an acronym for the Center rather than the full name in order to

  minimize their Islamic background. SAC at ¶¶31-35. Defendant Melfi made numerous

  misrepresentations to Plaintiffs that their formal submission to the permit office would be

  approved without any issues. SAC at ¶¶ 32-35, 40. Defendants Teaneck and Melfi unequally

  applied the zoning laws and permit applications. SAC at ¶¶ 48-50. Defendant Melfi, as the

  highest zoning policy maker, denied Plaintiffs’ request for work permits on several occasions,

  the first of which occurred on or about August 29, 2019, wherein the provision cited as the basis

  of the denial was inapplicable. SAC at ¶¶ 52-54. Defendant Melfi denied Plaintiffs’ amended

  application citing the same code that they used to grant the Church’s request while stating that

  the ramp was permitted as a right. SAC at ¶¶ 55-61. Despite passing all inspection and uses

  inside the Islamic Center, Defendants Teaneck and Melfi refused to temporarily permit Plaintiffs

  to use the center as they have permitted other religious and secular entities to do, thereby

  continuing to impose a double standard on Plaintiffs. SAC at ¶¶ 69-72.

          Defendant Myszka is an official that is employed by Defendant Teaneck and issues

  summons on behalf of the Township. SAC at ¶ 12. Defendants Melfi and Myszka collaborated so

  that Myszka would issue summons to Plaintiffs for infractions after Plaintiffs applied for the

  permits so that there was a manufactured and false basis to refuse Plaintiffs' permits. SAC at ¶¶

  75-78. Defendant Teaneck, by and through its Senior Zoning Official Melfi, refused to approve

  Plaintiffs' application to modify an existing fence, then collaborated with Myszka to issue a

  violation for the very same fence. Id. Defendants Teaneck and Melfi continued to deny Plaintiffs’

  permit requests by falsely claiming that recreational facilities were not permitted in the P zone. In
                                                                                                          21
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 27 of 30 PageID: 8852




  fact, recreational facilities are permitted in the P zone as per statute. See Teaneck Code 33-24.23;

  SAC at ¶ 80.

            Defendants Teaneck, Melfi and Myszka’s conduct directly interfered with Plaintiffs’

  constitutionally protected right to exercise their religion on their property and prevented

  Plaintiffs from opening their Islamic Community Center. Defendant Melfi’s conduct was direct

  and violated Plaintiffs’ rights on many levels, including but not limited to, Plaintiffs’ access to

  their sanctuary, house of worship, and their ability to provide same to other members of the

  community. Furthermore, Defendant Melfi’s refusal to issue the work permits forced Plaintiffs to

  participate in the ZBA process, where Plaintiffs were forced to pay tens of thousands of dollars

  for ZBA appointed experts. Defendant Myszka issued frivolous violations and summonses to

  manufacture reasons for Teaneck and Melfi to deny Plaintiffs' applications.

            In the context of a motion to dismiss, the Court must accept the allegations made in the

  Second Amended Complaint as true, in the light most favorable to Plaintiffs. Plaintiffs have

  alleged in their SAC that Defendants Melfi and Myszka were acting in their official capacities

  (SAC at ¶¶ 11, 12), alleged individual acts taken by each (SAC at ¶¶ 24-86), and alleged that

  their actions were taken with actual knowledge and acquiescence of the discriminatory conduct

  alleged (id.). As such, Plaintiffs’ claims against Defendants Melfi and Myszka are aptly pled, and

  Defendants’ motion must be dismissed.


      IX.      Defendants Teaneck, Melfi and Myszka concede that Counts IV, V, VI, VII,
               VIII, IX, and X of Plaintiffs' Second Amended Complaint are properly asserted
               and may proceed.


            Defendants Teaneck, Melfi and Myszka make no argument against Counts IV, V, VI,

  VII, VIII, IX, and X of Plaintiffs' Second Amended Complaint, and as such concedes them.

  Furthermore, Defendants do not claim, and nor can they, that the Plaintiffs’ claims for conduct

                                                                                                         22
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 28 of 30 PageID: 8853




  that occurred prior to the passage of the amended ordinance are actionable as this Court has

  previously held. Plaintiffs' claims under NJLAD, claims regarding violations of their due process

  rights under the United States Constitution and free exercise of religion New Jersey Constitution

  must be allowed to proceed.

         Plaintiffs’ claims under the New Jersey Law Against Discrimination (Count IV)

  specifically names Defendants Teaneck, Melfi and Myszka for violating Plaintiffs’ rights

  through their unlawful use of weaponizing the land use laws in a discriminatory manner

  specifically to inhibit the Islamic Center’s existence, use and functions. SAC at ¶¶ 314, 315. The

  SAC also specifically alleges in Count V that Defendants Teaneck, Melfi and Myszka violated

  the New Jersey Civil Rights Act by denying Plaintiffs’ applications for certificate of occupancy

  and acting under the color of law to interfere with Plaintiffs based upon their Islamic character.

  SAC at ¶ 317. Furthermore, Defendants Melfi and Teaneck were specifically alleged to have

  denied Plaintiffs’ permit applications and forcing them to go before the ZBA while continually

  participating and colluding with the ZBA to engage in further discriminatory conduct aimed at

  frustrating and denying Plaintiffs’ application. SAC at ¶ 317(D).

         Under Count VI, Plaintiffs specifically allege that Defendants Teaneck, Melfi and

  Myszka denied Plaintiffs a full and fair hearing, certificate of occupancy, and variances in

  violation of the US Constitution and Plaintiffs’ Due Process Rights. SAC at ¶ 322. The SAC

  goes on to further allege that Defendants Melfi and Teaneck specifically denied Plaintiffs’ permit

  applications, and forced them to go before the ZBA, who they were colluding with to further

  discriminate against Plaintiffs. SAC at ¶ 325.

         Defendants Teaneck, Melfi and Myszka were also specifically attributed with violating

  the First and Fourteenth Amendments in Count VII by inhibiting Plaintiffs’ right to free exercise



                                                                                                       23
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 29 of 30 PageID: 8854




  of religion, right to assembly, and substantive rights by inhibiting and prohibiting Plaintiffs from

  operating the Islamic Center through their weaponization of the Teaneck Code and their public

  positions. SAC at ¶¶ 329-332. These Defendants placed a substantial burden on Plaintiffs

  through their refusal to grant permits and imposing inapplicable requirements on them, and

  forcing them to go through the sham that is the ZBA process. SAC at ¶¶ 333-337. Similarly,

  Defendants Teaneck, Melfi and Myszka violated the New Jersey Constitution’s free exercise of

  religion clause through these very acts as alleged in Count VIII. SAC at ¶¶ 346-350. Plaintiffs

  also allege that Defendants Teaneck, Melfi and Myszka violated the Fourteenth Amendment’s

  Equal Protection clause in Count XI by intentionally treating Plaintiffs differently from other

  entities based on their religious belief. SAC at ¶¶ 357-360. Defendant Teaneck also rezoned the

  property while this litigation was pending to impose additional, previously not required

  requirements upon Plaintiffs and solely Plaintiffs. SAC at ¶¶ 361-363. Similarly, Defendants

  Teaneck, Melfi and Myszka violated the New Jersey Constitution’s equal protection clause

  through these very acts as alleged in Count X. SAC at ¶¶ 368- 369.

          Defendants do not address these allegations, and as such, concedes them. Plaintiffs’

  properly pled claims must be permitted to proceed.

     X.      Any dismissals should be without prejudice.

          The Parties are in the midst of completing discovery. As the deposition of Defendants

  Rehman has established, further details are emerging regarding the unlawful conduct of the

  Defendants. Given that the Plaintiffs are at an informational disadvantage at this point, the

  Plaintiffs respectfully request that any dismissal be without prejudice to Plaintiffs seeking to

  amend the complaint to add on any dismissed Defendants as facts emerge.




                                                                                                     24
Case 2:20-cv-14181-CCC-AME Document 149 Filed 03/24/23 Page 30 of 30 PageID: 8855




                                               Conclusion

         For all of the foregoing reasons, and for all of the reasons stated in Plaintiffs' briefs

  opposing Defendants Zoning Board of Adjustments, Members of the Zoning Board of

  Adjustments, Atif Rehman and Jan Meyer's motions to dismiss, Defendants' motions to dismiss

  must be dismissed in their entirety in favor of Plaintiffs.


  Dated: March 23, 2023
                                                         Respectfully submitted,
                                                         s/ Aymen A. Aboushi
                                                         Aymen A. Aboushi, Esq.
                                                         The Aboushi Law Firm
                                                         1441 Broadway, Fifth Floor
                                                         New York, NY 10018
                                                         Tel: (212) 391-8500
                                                         Fax: (212) 391-8508

                                                         s/ Joel S. Silberman
                                                         Joel S. Silberman, Esq.
                                                         Law Offices of Joel Silberman
                                                         26 Journal Square, #300
                                                         Jersey City, NJ 07306
                                                         Tel: (201) 420-1913
                                                         Fax: (201) 420-1914
                                                         Attorneys for Plaintiffs




                                                                                                     25
